Case 3:04-cr-00047-NKM         Document 1620 Filed 01/31/13             Page 1 of 34      Pageid#:
                                          7341



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

UNITED STATES OF AMERICA                     )        Criminal Case No. 3:04cr00047-1
                                             )
v.                                           )        2255 MEMORANDUM OPINION
                                             )
LOUIS ANTONIO BRYANT                         )        By: Norman K. Moon
                                             )        United States District Judge


       Louis Antonio Bryant, a federal inmate proceeding pro se, filed this motion to vacate, set

aside, or correct sentence, pursuant to 28 U.S.C. § 2255, challenging his convictions and

sentence in the above-referenced criminal proceeding. For the reasons stated herein, I will grant

the United States’ motion to dismiss.

                                                 I.

       Bryant was charged in the Western District of Virginia with several crimes stemming

from his leadership of a violent drug organization in Charlottesville, Virginia, which operated

from the mid-1990s through February, 2005.            On February 16, 2005, in a Superseding

Indictment, Bryant was indicted on twelve charges relating to narcotics trafficking, firearms

offenses, and associated acts of violence. Count One charged Bryant with conspiring to possess

with the intent to distribute and conspiring to distribute 50 grams or more of crack cocaine, 5

kilograms or more of hydrochloride, heroin, PCP, and marijuana, in violation of 21 U.S.C.

§§ 841(a)(1), 846, 859, 860, and 861; Count Two charged him with continuing a criminal

enterprise, in violation of 21 U.S.C. § 848(a) and (b); Count Three charged him with conspiring

to participate in a racketeer influenced corrupt organization, in violation of 18 U.S.C. § 1962(d);

Counts Five and Six charged him with attempting to murder Natalie Reyes and James Jones, in

aid of racketeering activity, in violation of 18 U.S.C. §§ 2 and 1959(a)(5); Count Eleven charged
Case 3:04-cr-00047-NKM          Document 1620 Filed 01/31/13            Page 2 of 34      Pageid#:
                                           7342



him with possessing marijuana with the intent to distribute, in violation of 18 U.S.C. § 841(a)(1);

Count Twelve charged him with using, carrying, brandishing, and discharging a firearm during

and in relation to a drug trafficking crime as charged in Count One, in violation of 18 U.S.C.

§ 924(c)(1); and Counts Thirteen, Fourteen, Fifteen, Sixteen, and Seventeen charged him with

attempting to murder Richard Koonce, Philip Green, and Robert Pryor, and threatening to

murder Pryor and his family, in aid of racketeering activity, in violation of 18 U.S.C. §§ 2 and

1959(a)(5).

       Bryant’s first trial commenced on November 14, 2005, but due to juror misconduct, I

declared a mistrial on November 30, 2005. Bryant’s second jury trial began on May 8, 2006,

during which the government presented several witnesses, including Bryant’s associates in the

organization, as well as corroborative evidence from a variety of law-enforcement officers,

chemists, and others.      Specifically, law enforcement officers provided substantial forensic

evidence, including shell casings found at relevant crime scenes, items discovered during the

execution of search warrants, and forensic firearms evidence and analysis.

       On May 22, 2006, the jury returned guilty verdicts on Counts One, Two, Three, Eleven,

Twelve, Fifteen, Sixteen, and Seventeen and acquitted Bryant on Counts Five and Six. Counts

Thirteen and Fourteen were dismissed on the government’s motion. By special verdict, the jury

found that Bryant was a principal supervisor and leader in the enterprise, that the enterprise

involved the distribution of 1.5 kilograms or more of substances containing cocaine base, and

that a number of violent acts and narcotics offenses were carried out in aid of the enterprise’s

racketeering activities.

       On August 21, 2006, I sentenced Bryant to a total term of life imprisonment, consisting

of life imprisonment as to Counts Two and Three, 60 months as to each of Counts Eleven,



                                                2
Case 3:04-cr-00047-NKM             Document 1620 Filed 01/31/13                    Page 3 of 34        Pageid#:
                                              7343



Sixteen, and Seventeen, and 120 months as to Count Fifteen, all to be served concurrently, and

120 months as to Count Twelve, to be served consecutively to all other counts.1 Bryant filed a

motion to modify sentence and I granted his motion, reducing his sentence as to Count Three to

108 months. On September 1, 2006, I entered final judgment.

        Bryant appealed and I appointed Bryant’s trial counsel to represent him on appeal.

Bryant raised several issues on appeal, including challenges to the jury venire, selection, and

composition; challenges to witness testimony and document admission pursuant to Crawford v.

Washington, 541 U.S. 36 (2004); and a constitutional challenge alleging a violation of his right

to a speedy trial. United States v. Bryant, 417 F. App’x 220 (4th Cir. 2008). The United States

Court of Appeals for the Fourth Circuit remanded Bryant’s appeal with instructions to vacate the

conviction on Count One, but affirmed all other convictions and the life sentence. In accordance

with the remand, I vacated Bryant’s conviction on Count One. Bryant appealed the Fourth

Circuit’s decision to the Supreme Court of the United States, which denied his petition for writ

of certiorari.

        Bryant filed the instant § 2255 motion raising twenty-two claims concerning the court’s

jurisdiction, trial court error, prosecutorial misconduct, sentencing inequity, and ineffective

assistance of counsel. The United States has filed a motion to dismiss and Bryant has responded

thereto, making this matter ripe for disposition.




    1
      Pursuant to Rutledge v. United States, 517 U.S. 292 (1996), I declined to sentence Bryant on Count One
(narcotics conspiracy in violation of 21 U.S.C. §§ 841(a)(1) and 846), as it is a lesser included offense of Count
Two.


                                                        3
Case 3:04-cr-00047-NKM             Document 1620 Filed 01/31/13                  Page 4 of 34        Pageid#:
                                              7344



                                  II. Procedurally Defaulted Claims

        Bryant alleges that the court lacked subject matter jurisdiction in his criminal proceeding

because the prosecutor failed to follow Department of Justice (“DOJ”) policy (Claim One)2 and

because the court records do not show compliance with grand jury procedures (Claim Three),

that the court denied his right to a public trial when it excluded Bryant’s family from the

courtroom (Claim Five), that the prosecutor presented perjured testimony (Claim Thirteen), that

Bryant’s sentence should be reduced to reflect the disparity between cocaine powder and cocaine

base (Claim Eighteen), and that the evidence is insufficient to support his conviction for

continuing a criminal enterprise (Claim Nineteen). However, Bryant could, but failed to, raise

any of these claims on direct appeal, and he has failed to demonstrate grounds to excuse his

default. Accordingly, I find that these claims are procedurally barred and, therefore, will dismiss

them.

        “[H]abeas review is an extraordinary remedy and will not be allowed to do service for an

appeal.” Bousley v. United States, 523 U.S. 614, 621 (1998). Claims that could have been but

were not raised on direct appeal are procedurally defaulted unless the petitioner demonstrates

both cause for the default and actual prejudice from the failure to review the claim, Bousely, 523

U.S. at 622; United States v. Frady, 456 U.S. 152, 170 (1972); Wainwright v. Sykes, 433 U.S. 72,

84 (1977); United States v. Mikalajunas, 186 F.3d 490, 492-95 (4th Cir. 1999); United States v.

Maybeck, 23 F.3d 888, 891 (4th Cir. 1994), or demonstrates that he is actually innocent, Schlup

v. Delo, 513 U.S. 298, 321 (1995); Mikalajunas, 186 F.3d at 493.

        To establish cause, Bryant must point to some objective factor beyond his control that

impeded or prevented him from presenting his claim. Coleman v. Thompson, 501 U.S. 722, 753


    2
     For ease of review, I will adopt the same numbering system that Bryant employed his § 2255 motion and that
the United States’ adopted in its motion to dismiss.

                                                      4
Case 3:04-cr-00047-NKM              Document 1620 Filed 01/31/13                   Page 5 of 34         Pageid#:
                                               7345



(1991). Objective factors that may constitute “cause” include: (1) interference by officials that

makes compliance impracticable; (2) a showing that the factual or legal basis for a claim was not

reasonably available; (3) novelty of the claim; and (4) constitutionally ineffective assistance of

counsel. Wright v. Angelone, 151 F.3d 151, 160 n.5 (4th Cir. 1998) (quoting McCleskey v. Zant,

49 U.S. 467, 493-94 (1991)). To show prejudice, Bryant must demonstrate “not merely that the

errors at his trial created a possibility of prejudice, but that they worked to his actual and

substantial disadvantage, infecting his entire trial with error of constitutional dimensions.”

McCarver v. Lee, 221 F.3d 583, 892 (4th Cir. 2000) (quoting United States v. Frady, 456 U.S.

152, 170 (1972)). Actual innocence means factual innocence, not merely the legal insufficiency

of his conviction or sentence. Bousley, 523 U.S. at 623-24. “[P]risoners asserting innocence as a

gateway to defaulted claims must establish that, in light of new evidence, it is more likely than

not that no reasonable juror would have found petitioner guilty beyond a reasonable doubt.”

House v. Bell, 547 U.S. 518, 536-37 (2006) (internal quotation marks omitted). Bryant has

procedurally defaulted his claims concerning lack of jurisdiction (Claims One and Three),3 court

error (Claim Five), prosecutorial misconduct (Claim Thirteen), sentencing (Claim Eighteen), and

sufficiency of the evidence (Claim Nineteen) because he failed to raise them on direct appeal.

The court may consider these claims on habeas review only if Bryant demonstrates cause and

prejudice or actual innocence.

        Bryant does not allege any cause or prejudice to excuse his default.                       Nor does he

demonstrate that he is actually innocent of his convictions.4 Accordingly, I find that Bryant


    3
      Moreover, as discussed infra in Claims Two and Four, Bryant’s allegations concerning the court’s jurisdiction
also have no merit.
    4
       To the extent Bryant’s challenge to the sufficiency of the evidence supporting his continuing criminal
enterprise conviction alleges that he is actually innocent of the offense, it fails. Actual innocence means factual
innocence, not merely legal insufficiency, Bousley v. United States, 523 U.S. 614, 623 (1998), and there is nothing
that remotely suggests that Bryant is actually innocent of the offense.

                                                        5
Case 3:04-cr-00047-NKM         Document 1620 Filed 01/31/13             Page 6 of 34       Pageid#:
                                          7346



procedurally defaulted Claims One, Three, Five, Thirteen, Eighteen, and Nineteen and that he

has alleged nothing to excuse his default. Therefore, I will dismiss these claims.

                   III. Remaining Ineffective Assistance of Counsel Claims

       Bryant also raises sixteen claims of ineffective assistance of counsel. However, I find

that none of these claims meet both the performance and prejudice prongs of Strickland v.

Washington, 466 U.S. 668, 669 (1984), and, therefore, I will dismiss them.

       To establish a claim of ineffective assistance of counsel, petitioner must show that

counsel’s performance fell below an objective standard of reasonableness and that he was

prejudiced by counsel’s allegedly deficient performance. Strickland, 466 U.S. at 669; see also

Williams v. Taylor, 529 U.S. 362 (2000). Courts apply a strong presumption that counsel’s

performance was within the range of reasonable professional assistance. Strickland, 466 U.S. at

689; see also Fields v. Att’y Gen. of Md., 956 F.2d 1290, 1297-99 (4th Cir. 1992); Hutchins v.

Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983); Marzullo v. Maryland, 561 F.2d 540 (4th Cir.

1977). In addition to proving deficient performance, a petitioner asserting ineffective assistance

must prove that he suffered prejudice as a result of his counsel’s deficient performance; that is,

petitioner must show there is a reasonable probability that, but for counsel’s unprofessional error,

the outcome of the proceeding would have been different. Strickland, 466 U.S. at 694.

       The petitioner “bears the burden of proving Strickland prejudice.” Fields, 956 F.2d at

1297 (citing Hutchins, 724 F.2d at 1430-31). If the petitioner fails to meet this burden, a

“reviewing court need not consider the performance prong.” Fields, 956 F.2d at 1290 (citing

Strickland, 466 U.S. at 697). A court’s evaluation of counsel’s performance under this standard

must be “highly deferential,” so as to not “second-guess” the performance. Strickland, 466 U.S.

at 689. “[A] court must indulge a strong presumption that counsel’s conduct falls within the



                                                 6
Case 3:04-cr-00047-NKM               Document 1620 Filed 01/31/13                     Page 7 of 34         Pageid#:
                                                7347



wide range of reasonable professional assistance; that is, the petitioner must overcome the

presumption that, under the circumstances, the challenged action might be considered sound trial

strategy.” Id. (internal quotation marks and citation omitted); see also Bowie v. Branker, 512

F.3d 112, 119 n.8 (4th Cir. 2008); Fields, 956 F.2d at 1297-99; Roach v. Martin, 757 F.2d 1463,

1467 (4th Cir. 1985). In this case, Bryant has not demonstrated ineffective assistance of counsel.

                                          A. Claims Two and Four

         Bryant argues that counsel was ineffective in failing to move for dismissal of his criminal

proceeding on the basis that the court lacked subject-matter jurisdiction because the United

States failed to follow DOJ policy in obtaining approval to prosecute Bryant5 (Claim Two) and

because the court’s record fails to show that twelve or more qualified grand jurors “examined”

and “approved” Bryant’s Superseding Indictment, that the jurors concurred in finding and

returning it as a “True Bill,” and that the jury foreperson delivered the True Bill to the Clerk of

Court (Claim Four). I find that Bryant has failed to demonstrate that counsel’s performance was

deficient. Accordingly, I will dismiss these claims.

         Subject-matter jurisdiction is the authority of a court to hear cases of a particular type or

cases relating to a specific subject matter. See Steel Co. v. Citizens for a Better Env’t, 523 U.S.

83, 89 (1998). Subject-matter jurisdiction over federal criminal prosecutions is conferred on

district courts by 18 U.S.C. § 3231. Pursuant to § 3231, district courts “have original jurisdiction

. . . of all offenses against the laws of the United States.” Bryant was charged with violating

laws of the United States, and therefore, this court had subject-matter jurisdiction over his federal

prosecution. See United States v. Belt, 206 F. App’x 289 (4th Cir. 2006). Bryant’s claims


    5
      Specifically, Bryant alleges that the United States violated DOJ policy when it failed to obtain and file the
necessary “Memorandum/Case Initiation Report” and “Supporting Affidavit” which would demonstrate “a
compelling federal interest by requesting prior approval to prosecute [Bryant] in the United States District Court for
the Western District of Virginia, on racketeering and drug violation charges.”

                                                          7
Case 3:04-cr-00047-NKM         Document 1620 Filed 01/31/13             Page 8 of 34       Pageid#:
                                          7348



concerning the prosecutor’s alleged failure to obtain pre-authorization from the DOJ to prosecute

Bryant and alleged deficiencies in the grand jury proceedings do not affect the court’s subject-

matter jurisdiction. Inasmuch as counsel is not ineffective for failing to raise an objection or

make a motion for which there is “no obvious basis,” see Clanton v. Bair, 826 F.2d 1354, 1359

(4th Cir. 1987), I find that Bryant has not demonstrated that counsel was ineffective in failing to

move for dismissal of Bryant’s criminal proceeding on the basis of lack of subject matter-

jurisdiction.

        Moreover, Bryant has not demonstrated that counsel was ineffective in failing to take any

other action concerning his claims that the prosecutor failed to obtain pre-authorization to

prosecute Bryant and that the grand jury proceedings were irregular. Pursuant to the U.S.

Department of Justice, United States Attorneys’ Manual, § 9-110.101, “[n]o RICO criminal

indictment or information or civil complaint shall be filed . . . without the prior approval of the

Criminal Division.” However the guidelines in this manual, like other guidelines which are “not

mandated by statute or the constitution, do not confer substantive rights on any party.” United

States v. Lopez-Matias, 522 F.3d 150, 155-57 (1st Cir. 2008). As stated in the manual, “[t]hese

guidelines provide only internal Department of Justice guidance. They are not intended to, do

not, and may not be relied upon to create any rights, substantive or procedural, enforceable at

law by any party in any matter civil or criminal.” U.S. Dep’t of Justice, United States Attorneys’

Manual, § 9-110.200. Bryant presents no evidence in support of his allegation that would

suggest that the government did not file the appropriate paperwork and obtain all necessary

approvals in accordance with the guidelines prior to the commencement of his prosecution. And,

even if the government failed to follow the DOJ policy, Bryant has not demonstrated how this

alleged failure violated his rights. Accordingly, I find that Bryant has not established the counsel



                                                 8
Case 3:04-cr-00047-NKM                 Document 1620 Filed 01/31/13                        Page 9 of 34           Pageid#:
                                                  7349



provided ineffective assistance in failing to take action based on the government’s alleged failure

to follow its internal policies for prosecuting the case.

         “The grand jury proceeding is accorded a presumption of regularity, which generally may

be dispelled only upon particularized proof of irregularities in the grand jury process.” United

States v. Mechanik, 475 U.S. 66, 75 (1986) (citing United States v. Johnson, 319 U.S. 503, 512-

13 (1943)); see also United States v. Buffington, 815 F.2d 1292, 1304 (9th Cir. 1987) (“[T]he

party challenging this presumption faces a heavy burden.”) Absent special circumstances, those

involved in the grand jury process “must not disclose a matter occurring before the grand jury.”

Fed. R. Crim. P. 6(e)(2). The foreperson must “record the number of jurors concurring in [the]

indictment,” but this record “may not be made public unless the court so orders.” Fed. R. Crim.

P. 6(c).      Given the secrecy interest in grand jury proceedings, the task of presenting

particularized proof of an irregularity belongs to Bryant.

         The record shows that Bryant’s Superseding Indictment was signed by the grand jury

foreperson and that it was endorsed as a “True Bill,” indicating that twelve grand jurors voted to

indict him.6 Bryant has presented no evidence impeaching the integrity of the grand jury

foreperson’s signature. See United States v. Demarey, 81 F.3d 161 (6th Cir. 1996). Further, the

record reflects that a Deputy Clerk, on behalf of the Clerk of Court, accepted the Superseding

Indictment and filed it with the court. Bryant has not made allegations or put forth any evidence


    6
      See United States v. Demarey, 81 F.3d 161 (6th Cir. 1996) (“The superseding indictment is signed by the
grand jury foreperson and indicates that it is a true bill; that is, a quorum of grand jurors agreed to indict.”); United
States v. Michael, 180 F.2d 55, 56 (3d Cir. 1950) (“The finding of an indictment is the function of the grand jury.
When an indictment has been submitted to the grand jury by the government attorney it becomes the duty of that
body to find it to be a true bill of indictment and so return it to the district court, if at least twelve of the grand jurors
concur in regarding the evidence presented by the government as making out a prima facie case of the offense
charged. If the requisite number of grand jurors decline to find the indictment to be a true bill it is to be returned as
ignored. When the grand jury has found an indictment to be a true bill and has completed its action thereon by
returning the indictment, duly endorsed as a true bill by its foreman, to the district court in open session, its function
has been fulfilled.”).


                                                              9
    Case 3:04-cr-00047-NKM              Document 1620 Filed 01/31/13              Page 10 of 34
                                           Pageid#: 7350



to overcome the presumption of regularity. Accordingly, I find that Bryant has not established

that counsel provided ineffective assistance in failing to object to the grand jury proceedings

leading to his indictment. For these reasons, I will dismiss Bryant’s Claims Two and Four.

                                       B. Claims Six and Seven

          Bryant alleges that counsel was ineffective in failing to object to (Claim Six) and appeal

(Claim Seven) the court’s exclusion of Bryant’s family members from the courtroom during jury

deliberations and the court’s failure to state its reasons for doing so in open court. I find that

Bryant has failed to demonstrate either that counsel’s performance was deficient or that he was

prejudiced by counsel’s allegedly deficient performance. Accordingly, I will dismiss these

claims.

          In the middle of jury deliberation in this case, the jury requested to review “a written

transcript of [a] voice-mail message” and if that was not available, they asked to “listen to them

with written content” and “with only legal counsel, prosecution, and defendant in the court

room.” The evidence at issue consisted of a voicemail recording with a real-time transcript of

the recording. The only way this evidence could be reviewed was on the technology available in

the courtroom. Despite the jury’s presence in the courtroom, the trial had concluded and no new

evidence was being presentenced when Bryant’s family members, along with the rest of the

general public, were excluded from the courtroom.

          While Bryant has a right to a public trial by a jury of his peers, he does not have a right to

a public jury deliberation. In fact, a courtroom may be closed even during jury instruction in

order to prevent distraction of the jurors. United States v. Romano, 684 F.2d 1057, 1065-66 (2d

Cir. 1982). Counsel is not ineffective for failing to raise an objection for which there is “no

obvious basis,” see Clanton, 826 F.2d at 1359, and the omission of a specific issue from a filed



                                                   10
     Case 3:04-cr-00047-NKM           Document 1620 Filed 01/31/13             Page 11 of 34
                                         Pageid#: 7351



appeal, even if the issue is nonfrivolous, does not constitute ineffective assistance, Jones v.

Barnes, 463 U.S. 745, 751-54 (1983) (holding that a defense attorney does not have a

constitutional duty to raise every nonfrivolous issue requested by his client). I find that Bryant

has not demonstrated how counsel’s failure to object to or appeal the court’s exclusion of

Bryant’s family members from the courtroom during this time constituted deficient performance

by counsel.    Further, Bryant has not established a reasonable probability that had counsel

objected to or appealed the exclusion of Bryant’s family from the courtroom while the jury heard

the voicemail recordings, the outcome of his trial or appeal would have been different.

Therefore, I find that Bryant has not demonstrated ineffective assistance of counsel, and I will

dismiss Bryant’s Claims Six and Seven.

                                          C. Claim Eight

       Bryant alleges that counsel was ineffective in denying Bryant’s request to testify in his

own defense. I find that Bryant has failed to demonstrate either that counsel’s performance was

deficient or that he was prejudiced by counsel’s allegedly deficient performance. Accordingly, I

will dismiss this claim.

       Bryant has not shown that his counsel’s actions were outside the permissibly wide range

of reasonable actions in the instant case. See Strickland, 466 U.S. at 689. In asserting that

counsel “denied” him the right to testify, Bryant does not assert whether counsel merely advised

him against testifying or actually coerced him into not testifying.

       Clearly, tactical advice not to testify “is a paradigm of the type of tactical decision that

cannot be challenged as evidence of ineffective assistance.” Hutchins, 724 F.2d at 1436 (citing

Marzullo, 561 F.2d at 544-45. “Absent evidence of coercion, legal advice concerning the

defendant’s right to testify does not constitute [ineffective assistance of counsel].” Carter v. Lee,



                                                 11
    Case 3:04-cr-00047-NKM          Document 1620 Filed 01/31/13             Page 12 of 34
                                       Pageid#: 7352



283 F.3d 240, 249, 252 n.11 (4th Cir. 2002) (quoting Reyes-Vejerano v. United States, 117 F.

Supp. 2d 103, 108-09 (D.P.R. 2000)) (finding that under Strickland, a convict’s “tardy assertion

of coercion” to testify must fail where counsel strongly advised him of necessity of testifying);

see also Jones v. Murray, 947 F.2d 1106, 1116 n.6 (4th Cir. 1991) (restating the principle that

counsel’s advice to testify is paradigmatic of a strategic decision); Rogers-Bey v. Lane, 896 F.2d

279, 283 (7th Cir. 1990) (finding that counsel’s advice not to testify, based in part on erroneous

belief that defendant could be impeached with prior convictions, was not deficient performance).

       While Bryant has a right to testify on his own behalf, counsel’s advice to that testifying

on his own behalf would not be a wise decision, does not constitute deficient performance.

Bryant’s belated regret for failing to testify in his own defense is simply impermissible “Monday

morning quarter-backing” that cannot be used to impugn his attorney’s assistance at trial. See

Stamper v. Muncie, 944 F.2d 170 (4th Cir. 1991).

       Further, Bryant has not demonstrated that his failure to testify in his own defense

prejudiced him in any way. Even if I assumed that a factual dispute existed as to whether

counsel may have inappropriately led Bryant into not testifying, Bryant has not met his burden of

detailing facts sufficient for the court to conclude that there is a reasonable probability that

Bryant would not have been convicted if he had testified.

       In his memorandum, Bryant states only that:

               [He] would have been able to rebut[] some aspect[]s of the
               government’s witnesses[’] testimony, such as [government witness]
               Robert Pryor . . . , that “No time” in the voice mails did petitioner
               threaten Robert Pryor’s family . . . explained to the jury why he was so
               upset, being that Pryor . . . had previously shot at him and taunted him
               on petitioner’s own phone; and that when petitioner called Pryor back,
               Pryor got the answering machine [] and that [P]ryor left messages on
               his phone as well and how, after petitioner had time to rise above his
               emotions in calming down, he wished he hadn’t said some of the
               things[.]

                                               12
     Case 3:04-cr-00047-NKM          Document 1620 Filed 01/31/13              Page 13 of 34
                                        Pageid#: 7353




               [P]etitioner would have explain[ed] the state of mind he was in at the
               time that a person who is upset or emotional[] would say thing[]s,
               but[] have no intention [of] bringing negative thought[]s into
               manifestation.

               Furthermore, the petitioner would have disputed drug amount’s that
               [were] mentioned at his trial by his co-conspirators, that was
               ultim[at]ely contribut[]ed to the petitioner. That the money mentioned
               by some of [the] witnesses was exag[g]erated as well as the amount of
               drug[]s allegedly sold.

               In addition, petitioner would have testified that the Woodfolk
               brother[]s did not work for him . . . . Petitioner would have testified
               concerning his whereabout[]s at the time of specific incident[]s as
               alleged by the government, such [as] the allegation from Ernest
               Anderson, and how petitioner never had any kind of business
               arrangement[]s with Anderson; and that petitioner never organized or
               managed nobody; Petitioner had legitimate business and what money
               he made from “CD’S” and why he . . . didn’t file taxes, because he
               didn’t know how to; Petitioner would have testified by explaining his
               gambling habit[]s and the lumpsum of money he won, and how he
               alway[]s saved his money.

The potential effectiveness of such conclusory testimony must be evaluated in light of the history

of this case. After a lengthy trial, I found that there was sufficient evidence against Bryant for

the jury to find him guilty, and the Fourth Circuit upheld Bryant’s life sentence and all but one of

his convictions. United States v. Bryant, No. 3:04-CR-00047-01 (W.D. Va. June 15, 2006);

United States v. Bryant, No. 06-4977 (4th Cir. Nov. 25, 2008), cert. denied, 129 S. Ct. 2755

(2009). Bryant presents nothing more than a conclusory argument suggesting that his piecemeal

“I am innocent” testimony would have overcome the overwhelming evidence against him.

Bryant also does not assert that the evidence to which he now alleges he would have testified did

not come in through other witnesses or that his testimony would have negated the elements

necessary to establish his guilt.




                                                13
     Case 3:04-cr-00047-NKM            Document 1620 Filed 01/31/13         Page 14 of 34
                                          Pageid#: 7354



       Moreover, there are great strategic disadvantages to a defendant testifying. A court must

evaluate the negative aspects of any omitted, purportedly mitigating evidence when evaluating

prejudice to the defendant under Strickland. See Whitley v. Bair, 802 F.2d 1487, 1494-97 (4th

Cir. 1986) (finding that the negative effects, including admission of defendant’s extensive

criminal history, of foregone testimony would have far outweighed any mitigating effects of the

testimony). Although Bryant believes he would have rebutted many of the allegations against

him, there is no evidence that the jury would have found him persuasive or that Bryant would

have withstood the character evidence which would have been allowed into evidence against him

if he had insisted on testifying (i.e., Bryant’s criminal record).

       Other than a blanket declaration that he would have persuaded the jury of his innocence

in a few areas of the case against him, Bryant makes no attempt to satisfy the prejudice prong of

Strickland. Bryant’s assertion that his failure to testify in his own defense prejudiced the

outcome of his case is simply insufficient to carry his burden. See Jones, 947 F.2d at 1115-16

(emphasizing that a defendant must do more than show that an alleged error on the part of

counsel “conceivably could have influenced the outcome” and holding that a petitioner’s

assurances that he would have testified at sentencing to “numerous compelling aspects” of his

character and record were insufficient to establish a reasonable probability that the jury would

not have imposed the death penalty (quoting Strickland, 466 U.S. at 693)). Accordingly, I find

that Bryant has not demonstrated that counsel’s performance was deficient or that, but for

counsel’s alleged error, the outcome of his trial would have been different. For these reasons, I

will dismiss Bryant’s Claim Eight.




                                                  14
     Case 3:04-cr-00047-NKM           Document 1620 Filed 01/31/13              Page 15 of 34
                                         Pageid#: 7355



                                           D. Claim Nine

         Bryant alleges that counsel provided ineffective assistance because there was a conflict of

interest where counsel, who was retained, purportedly refused Bryant’s request to testify in his

own defense because Bryant could not afford to pay for someone to help him prepare for such

testimony. I find that Bryant has not demonstrated that an actual conflict of interest existed or

that the alleged conflict adversely affected counsel’s performance. Therefore, I will dismiss this

claim.

         Ineffective assistance of counsel based on a conflict of interest requires the petitioner to

show both that counsel was under an actual conflict of interest and that this conflict adversely

affected counsel’s performance. United States v. Nicholson, 475 F.3d 241, 249 (4th Cir. 2007)

(citing Cuyler v. Sullivan, 446 U.S. 335, 349-50 (1980)); see also Fullwood v. Lee, 290 F.3d 663,

689 (4th Cir. 2002). If the petitioner establishes both actual conflict of interest and an adverse

effect on counsel’s performance from this conflict, prejudice to the petitioner is presumed.

Nicholson, 475 F.3d at 249 (citing Sullivan, 446 U.S. at 349-50). An actual conflict arises when

counsel “actively represents conflicting interests.” United States v. Tatum, 943 F.2d 370, 375

(4th Cir. 1991).

         Although Bryant fails to explicitly assert the basis for his counsel’s purported actual

conflict of interest, to the extent he is implying that a request from his counsel for payment to

hire an expert to prepare Bryant to testify in his own defense constituted a conflict of interest, his

claim fails. Requiring payment for services when counsel has been retained by a party, for a fee,

simply does not constitute a conflict of interest.

         Bryant asserts that counsel’s purported conflict of interest adversely affected counsel’s

performance because he failed to object to Bryant’s family’s exclusion from the courtroom,



                                                     15
    Case 3:04-cr-00047-NKM            Document 1620 Filed 01/31/13             Page 16 of 34
                                         Pageid#: 7356



failed to request additional funds “under the CJA statu[te]s” to hire someone to help Bryant

prepare to testify, and refused to allow Bryant to testify in his own defense. Counsel’s failure to

object to Bryant’s family’s exclusion from the courtroom during jury deliberation was addressed

supra, Claim Six, and I determined that Bryant did not establish that counsel’s performance was

deficient or that Bryant was prejudiced by counsel’s performance. Counsel’s purported refusal

to allow Bryant to testify was also previously addressed supra, Claim Eight, and I again

determined that Bryant did not establish that counsel’s performance was deficient or that Bryant

was prejudiced by counsel’s performance.

       The only unaddressed adverse affect that Bryant asserts resulted from his counsel’s

purported conflict of interest is his failure to request additional funds “under the CJA statu[te]s.”

To establish an adverse effect, Bryant must show three elements by a preponderance of

evidence -- first, there was a plausible alternative defense strategy that counsel could have

pursued; second, the foregone strategy was objectively reasonable based on the facts known to

counsel when the tactical decision was made; and third, a link between counsel’s failure to

pursue the alternative strategy and the actual conflict. Nicholson, 475 F.3d at 251-52. Bryant

completely fails to provide a link, much less by a preponderance of evidence, between counsel’s

failure to request additional funds under the CJA and the unspecified conflict of interest at issue.

       Bryant also fails to show that counsel’s failure to request additional funds under the CJA

was not objectively reasonable. While 18 U.S.C. § 3006A(e) allows indigent defendants to apply

to the court for funds for services other than counsel, Bryant has not argued or demonstrated that

he would have qualified for such public assistance or that a testimony coach would constitute a

necessary expense in the view of the court. See United States v. Rivera, 292 F. Supp. 2d 823

(E.D. Va. 2003) (finding indigent defendants were not entitled under the Criminal Justice Act to



                                                 16
    Case 3:04-cr-00047-NKM              Document 1620 Filed 01/31/13           Page 17 of 34
                                           Pageid#: 7357



a jury consultant at public expense in murder prosecution because the consultant was not

necessary for adequate representation and was not one of the “basic tools or ‘raw materials

integral to the building of an effective defense’” (quoting Ake v. Oklahoma, 470 U.S. 68, 76-77

(1985)). Because Bryant does not assert or demonstrate that he would have qualified for these

funds, Bryant has not shown that counsel’s failure to apply for these funds was unreasonable at

the time counsel made the decision. That is, even if Bryant’s counsel had applied for funds

under the CJA statute, Bryant has not shown that the funds would have been granted. Counsel’s

failure to apply for these funds was just as likely attributable to a belief in Bryant’s failure to

qualify than to an unspecified conflict of interest. Bryant has failed to show either an actual

conflict of interest or any adverse effect from the purported conflict, and as such, his ineffective

assistance claim fails. Therefore, I will dismiss Bryant’s Claim Nine.

                                           E. Claim Ten

       Bryant alleges that counsel provided ineffective assistance in failing to object to, and

raise on direct appeal, an alleged error under Richardson v. United States, 526 U.S. 813 (1999),

regarding the jury instructions and the jury’s verdict on the continuing criminal enterprise

(“CCE”) conviction in Count Two. I find that Bryant has failed to demonstrate that counsel’s

performance was deficient or that he suffered any prejudice is a result of counsel’s alleged error.

Therefore, I will dismiss this claim.

       In Richardson, the Supreme Court held that a violation of 21 U.S.C. § 848(a), the CCE

statute, required a jury to find specific criminal violations committed by the defendant as part of

a “continuing series of violations.” 526 U.S. at 815.        In this case, I gave an appropriate

Richardson instruction, provided a verdict form which instructed the jury that they should

unanimously agree on the specific violations that constituted the continuing series, and the jury



                                                17
    Case 3:04-cr-00047-NKM            Document 1620 Filed 01/31/13             Page 18 of 34
                                         Pageid#: 7358



unanimously agreed that Bryant committed ten specific violations which constituted a continuing

criminal enterprise.

       During jury instructions, I informed the jury that:

               [T]o find the defendant committed a continuing series of
               violations, you must find beyond a reasonable doubt that he
               committed the offense charged in Count One, the conspiracy, plus
               two or more additional violations of the federal drug laws. You,
               the jury, must unanimously agree which three specific violations
               constitute the continuing series of violations. It is not enough that
               all of you find the defendant committed three narcotics law
               violations; rather, you must unanimously agree as to the particular
               narcotics offenses committed by the defendant.

Bryant points to no error in the instruction and verdict form and I find none. In addition, the

verdict form required that the jury “find beyond a reasonable doubt whether the Defendant

committed the conspiracy charged in Count One and at least two additional violations of the

federal drug laws as part of the continuing criminal enterprise” and “should make unanimous

findings beyond a reasonable doubt with respect to each of the [CCE predicate] violations listed

below” if they found Bryant guilty of Count One. The jury checked “proven” for ten of the

twelve possible CCE predicate offenses, indicating that it unanimously agreed that ten specific

violations made up Bryant’s CCE. Inasmuch as there was no Richardson violation, the court

finds that counsel was not ineffective for failing to object on that basis. See Clanton, 826 F.2d at

1359 (finding that counsel is not ineffective for failing to raise an objection or make a motion for

which there is “no obvious basis”).

       Furthermore, although a complete failure to file an appeal that is a matter of right

constitutes a colorable claim of ineffectiveness of counsel, Becton v. Barnett, 920 F.2d 1190,

1195 (4th Cir. 1990), the omission of a specific issue from a filed appeal, even if the issue is

nonfrivolous, does not constitute ineffective assistance, Jones, 463 U.S. at 751-54 (holding that a



                                                18
    Case 3:04-cr-00047-NKM           Document 1620 Filed 01/31/13               Page 19 of 34
                                        Pageid#: 7359



defense attorney does not have a constitutional duty to raise every nonfrivolous issue requested

by his client). Appellate counsel has rendered effective assistance as long as he has exercised

“reasonable professional judgment” in deciding not to appeal an issue. Griffin v. Aiken, 775 F.2d

1226, 1235 (4th Cir. 1985); see also Smith v. South Carolina, 882 F.2d 895, 897-99 (4th Cir.

1989). According to the Supreme Court, “[w]innowing out weaker arguments on appeal and

focusing on those more likely to prevail, far from evidence of incompetence, is the hallmark of

effective appellate advocacy.” Smith v. Murray, 477 U.S. 527, 536 (1986). Thus, an appellate

advocate must often strategically disregard some nonfrivolous issues because “[a] brief that

raises every colorable issue runs the risk of burying good arguments . . . in a verbal mound made

up of strong and weak contentions.” Jones, 463 U.S. at 753. Because there was no Richardson

violation, I find that appellate counsel exercised reasonable judgment in deciding not to appeal

on the basis of Richardson and, thus, did not provide ineffective assistance.

       Even if I were to find that counsel’s performance was deficient when he failed to object

to or appeal the alleged Richardson error, Bryant still has not demonstrated a reasonable

probability exists that a differently instructed jury would have returned a different verdict and,

thus, he has not demonstrated prejudice under Strickland.

       The Fourth Circuit has held that Richardson errors are procedural defects, not structural,

and, therefore, are subject to harmless-error analysis and require the defendant to demonstrate

prejudice. United States v. Brown, 202 F.3d 691, 698 (4th Cir. 2000); United States v. Stitt, 250

F.3d 878, 883 (4th Cir. 2001). Bryant was not prejudiced by the alleged Richardson error

because he was convicted on two counts that qualified as CCE predicate offenses: Count One,

the drug conspiracy, and Count Eleven, the marijuana possession with intent to distribute charge,

which mirrors CCE Predicate 11. The fact that the prosecution proved nine additional CCE



                                                19
    Case 3:04-cr-00047-NKM          Document 1620 Filed 01/31/13             Page 20 of 34
                                       Pageid#: 7360



predicates (ten of a possible twelve, including CCE Predicate 11) makes it highly likely that any

error in the jury instruction or verdict constituted nothing more than harmless error. Thus,

Bryant has not shown that a failure to appeal likely prejudiced the outcome of his case in any

way. For these reasons, I will dismiss Bryant’s Claim Ten.

                                        F. Claim Eleven

       Bryant argues that counsel was ineffective in failing to “familiarize himself” with the

requirements of a CCE so that he could properly prepare a defense. In support of his claim,

Bryant argues that counsel “was unable to adequately offer any defense[] that [Bryant] was/is not

an organizer, supervisor, or manager” of a CCE. I find that Bryant has not demonstrated that

counsel’s performance was deficient or that, but for counsel’s alleged deficient performance, the

outcome of his trial would have been different. Accordingly, I will dismiss this claim.

       Bryant has not shown that his trial counsel completely “fail[ed] to subject the

prosecution’s case to meaningful adversarial testing.” United States v. Cronic, 466 U.S. 648,

659 (1984). On the contrary, as a result of counsel’s vigorous advocacy, Bryant was acquitted

on some of the counts with which he was charged. See United States v. Daniel, 3 F.3d 775, 779

(4th Cir. 1993) (rejecting ineffectiveness claim where counsel obtained acquittals on some

counts and deadlock on others). The fact that Bryant’s counsel thoroughly understood the

requirements of a CCE under 21 U.S.C. § 848 is best evinced by the fact that he challenged the

proposed jury instructions on Count Two and attempted to re-word the instructions to be more

favorable to Bryant when a jury question showed confusion on the count’s requirements. The

lack of an effective defense to Count Two simply shows that the evidence against Bryant was

overwhelming, not that Bryant’s counsel was in any way ineffective.




                                               20
    Case 3:04-cr-00047-NKM            Document 1620 Filed 01/31/13              Page 21 of 34
                                         Pageid#: 7361



       Given the evidence against Bryant, defense counsel’s efforts were not deficient and also

could not have prejudiced Bryant. Other than a blanket declaration that “[t]here is a reasonable

probability, had counsel, familiarize[d] himself with the examination of the facts, pleadings,

laws, and the § 848 statute, the out[]come of his trial would have been different,” Bryant’s

memorandum makes no attempt to satisfy the prejudice prong of Strickland. As such, I find that

this claim fails and, therefore, I will dismiss Bryant’s Claim Eleven.

                                         G. Claim Twelve

       Bryant asserts that his attorney provided ineffective assistance when he failed to object to

the admissibility of evidence, which came in through a government witness, of an “uncharged

murder” that was unrelated to Bryant’s case. I find that Bryant has not demonstrated either

prong of Strickland and, therefore, I will dismiss this claim.

       Courts refrain from second guessing the tactics and decisions made by trial lawyers.

Stamper, 944 F.2d at 170; Goodson v. United States, 564 F.2d 1071, 1072 (4th Cir. 1977). The

Supreme Court explicitly rejected a “rule that the client, not the professional advocate, [] be

allowed to decide what issues are to be pressed,” because it would “seriously undermine[] the

ability of counsel to present the client’s case in accord with counsel’s professional evaluation.”

Jones, 463 U.S. at 751. In fact, courts have recognized the soundness of a defense strategy to

concede guilt as to a lesser offense or to one of several chargers, prior to a jury verdict, in order

to gain confidence or credibility with the jury and, thus, increase the chances for success on other

counts. See Baker v. Corcoran, 220 F.3d 276, 295-96 (4th Cir. 2000); Young v. Catoe, 205 F.3d

750, 759-61 (4th Cir. 2000); Bell v. Evatt, 72 F.3d 421, 430 (4th Cir. 1995).

       Counsel’s objections or failure to object to the government witness’s statements clearly

were within his strategic discretion. If counsel preferred to gain credibility with the jury by



                                                 21
        Case 3:04-cr-00047-NKM              Document 1620 Filed 01/31/13                     Page 22 of 34
                                               Pageid#: 7362



refraining from objecting to a government witnesses’ insinuations of murder-for-hire, of which

Bryant was not even charged, this was within the purview of his reasonable defense strategy.

          Moreover, there is evidence that counsel objected to this testimony before trial and

continuously objected during trial to at least some of the government witnesses’ testimony of

which Bryant complains. Counsel objected to the leading questions and vague answers that drew

out the testimony that Bryant had paid the witness to commit murder. Counsel even moved for a

mistrial and for sanctions for prosecutorial misconduct during this line of questioning. Lastly,

counsel cross-examined the government’s witness on the question of the murder and vigorously

attempted to discredit the witness and his testimony in the eyes of the jury.

          To the extent Bryant is claiming that counsel provided ineffective assistance for failing to

object on the grounds of United States v. Wilson, 135 F.3d 291, 297-99 (4th Cir. 1998),7 the

strategic nature of such an objection is underscored by the fact that such objection would have

been overruled. Because such an objection would have been denied, counsel’s failure to object

also would not have changed the outcome of Bryant’s case. Bryant provides no reason why,

much less a reasonable probability that, if his counsel had objected to this line of questioning on

the basis of Wilson the result of his case would have been any different.

          Wilson is distinguishable from this case in that it confronted prosecutorial misconduct in

closing arguments. Wilson, 135 F.3d at 297-99. There, the uncharged murder was mentioned

after the presentation of evidence, making it a surprise that the defendant would not have a

chance to rebut with further evidence, and was not based on any evidence from the trial – in fact
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       In Wilson, the court recognized that a prosecutor’s improper closing argument may “so infect [] the trial with
unfairness as to make the resulting conviction a denial of due process.” 135 F.3d at 297. In determining whether
the defendant's due process rights were violated by the prosecutor’s closing argument, the court applied the two-
pronged test of Darden v. Wainwright, 477 U.S. 168, 181 (1986), and considered (1) whether the remarks were, in
fact, improper, and, (2) if so, whether the improper remarks so prejudiced the defendant's substantial rights that the
defendant was denied a fair trial. Id. The court held that the prosecution’s remarks in Wilson’s case were improper
and that they prejudiced him to the extent that he was denied a fair trial.


                                                         22
     Case 3:04-cr-00047-NKM         Document 1620 Filed 01/31/13             Page 23 of 34
                                       Pageid#: 7363



it was based on excluded evidence. Id. In the instant case, the uncharged murder was mentioned

in the middle of witness testimony, which is far below the prejudice incurred by explicitly

accusing the defendant of murder during closing arguments. The fact that it did not occur during

closing arguments also provided Bryant an opportunity to present evidence to rebut the allusion;

it was not a surprise at the conclusion of the trial. The fact that the government also referenced

this trial testimony during closing arguments does not bring it under Wilson; referencing

evidence from trial is entirely proper during closing arguments. See, e.g., United States v.

Thompson, 195 F. App’x 191, 195 (4th Cir. 2006) (finding prosecutor’s use of properly admitted

statements was not improper).

       Accordingly, I find that Bryant has not met the Strickland burden of showing that his

counsel’s failure to object to the trial testimony at issue prejudiced him in any way because he

has not shown that his counsel likely would have been successful if he had objected. For this

reason, I will dismiss Bryant’s Claim Twelve.

                                      H. Claim Fourteen

       Bryant alleges that counsel was ineffective in failing to “object to” two government

witnesses’ alleged inconsistent or perjured trial testimony. Specifically, Bryant alleges that

counsel should have impeached the testimony of witnesses Woodfolk and Henry with their

proffer or investigation reports when they testified that they had dealings with Bryant in 1995

and gave this as the beginning date of the criminal enterprise while Bryant was actually

incarcerated in 1995. I find that Bryant has not demonstrated that counsel’s performance was

deficient or that counsel’s alleged deficient performance prejudiced Bryant’s case. Accordingly,

I will dismiss this claim.




                                                23
     Case 3:04-cr-00047-NKM          Document 1620 Filed 01/31/13              Page 24 of 34
                                        Pageid#: 7364



       Bryant’s allegations do not rise to the level of ineffective assistance because objecting to

or impeaching witness testimony is clearly trial strategy. The court generally is reluctant to

second-guess a trial lawyer’s tactical decisions. Goodson, 564 F.2d at 1072. “For judges to

second-guess reasonable professional judgments and impose on . . . counsel a duty to raise every

colorable claim suggested by a client would disserve the very goal of vigorous and effective

advocacy. . . .” Jones, 463 U.S. at 754.

       Even assuming that a witness provided some testimony to which counsel could have

objected, Bryant fails to allege or show that failing to make such an objection or impeachment

was far below the standard of competency demanded of attorneys. The record shows that

witness Woodfolk was not asked to sign or review for accuracy the report of investigation

detailing his interview; he did not even know that the interview was recorded in writing. As

such, it would have been much less persuasive as an impeachment document. Witness Henry’s

proffer was similarly not signed or reviewed for accuracy.          Given their lack of value as

impeachment documents failing to impeach either witness with these proffers was within the

range of reasonable attorney conduct.

       Further, a continuing criminal enterprise need not contain a precise date. See infra,

Claim Fifteen (a conspiracy also need not contain a precise date). The jury was properly

instructed:

               The indictment charges that certain offenses were committed on or
               about a certain date. The proof need not establish with certainty the
               exact date of the alleged offense. It is sufficient if the evidence in
               the case establishes beyond a reasonable doubt that the offense was
               committed on a date reasonably near the date alleged.

Therefore, any impeachment of the witnesses as to the beginning date of the CCE would have

had a nominal affect on the jury’s verdict.



                                                24
    Case 3:04-cr-00047-NKM          Document 1620 Filed 01/31/13              Page 25 of 34
                                       Pageid#: 7365



       There is evidence that Bryant was sentenced on March 28, 1995, to six months in jail.

However, this certainly does not preclude the possibility of Henry dealing with Bryant in 1995.

Failing to object to or impeach such minor inconsistencies in witness testimony, like the

difference between “summer 1995” and late September 1995, was a sound trial strategy

judgment that counsel could have properly made.

       Further, Bryant has not established that but for counsel’s failure to impeach this

testimony the result of his trial would likely have been different. Bryant merely alleges that the

trial testimony showed the CCE began in 1995, which he claims would have been impossible.

He does not argue that his counsel’s extensive cross-examinations of both Woodfolk and Henry

were less effective because they did not point out minor inconsistencies between these witnesses’

in-court statements and previous unsigned, unreviewed proffers. Presumably Bryant is arguing

that such an impossible beginning date for the CCE would have led the jury to a different

conclusion about the entire existence of the Bryant’s CCE. Other than this highly tenuous

allusion, given the fact that Bryant was sentenced on March 28, 1995, to only six months in jail,

Bryant’s memorandum makes no attempt to satisfy the prejudice prong. Such a vague allegation

is insufficient to carry Bryant’s burden under Strickland. For these reasons, I find that Bryant’s

claim fails under both prongs of the Strickland analysis and, therefore, will dismiss Bryant’s

Claim Fourteen.

                                        I. Claim Fifteen

       Bryant asserts that counsel provided ineffective assistance in failing to move, pretrial, to

dismiss Count One, a 21 USC § 841(a)(1) conspiracy charge, because the indictment did not

charge an offense or a specific time frame of the alleged conspiracy. Bryant further argues that

dismissing Count One would necessarily have caused Counts Two, Three, Four, Five, Six,



                                               25
        Case 3:04-cr-00047-NKM           Document 1620 Filed 01/31/13                  Page 26 of 34
                                            Pageid#: 7366



Thirteen, Fourteen, Fifteen, Sixteen, and Seventeen to fail as a matter of law. I find that Bryant

has not demonstrated that counsel’s performance was deficient or that he suffered any resulting

prejudice. Accordingly, I will dismiss these claims.

          First, Count One did charge Bryant with an offense: conspiring to distribute or possess

with intent to distribute marijuana, cocaine base, or powder cocaine, in violation of 21 U.S.C. §

846; and second, it charged that the conspiracy “beg[an] sometime in or about 1995, and

continu[ed] through the return date of this Superseding Indictment.”8 In United States v. Queen,

132 F.3d 991 (4th Cir. 1997), the court held that the trier of fact need not find that the starting

date of a conspiracy coincide with the starting date alleged in the indictment, but rather, may find

that the starting date of a conspiracy begins anytime in the time window alleged, so long as the

time frame alleged places the defendant sufficiently on notice of the acts with which he is

charged. Id. at 999. As I properly instructed the jury:

                 The indictment charges that certain offenses were committed on or
                 about a certain date. The proof need not establish with certainty
                 the exact date of the alleged offense. It is sufficient if the evidence
                 in the case establishes beyond a reasonable doubt that the offense
                 was committed on a date reasonably near the date alleged.

Accordingly, I find that counsel was reasonable in failing to move to dismiss Count One because

he could reasonably have believed such a motion to be groundless and counsel is not ineffective

in failing to make a motion for which there is no obvious basis. See Clanton, 826 F.2d at 1359.

          Further, Bryant has not shown a reasonably probability that I would have granted a

motion to dismiss Count One and, therefore, he has not demonstrated that counsel’s failure to file

a pretrial motion to dismiss would have likely affected the outcome of his case. For these


    8
       This date range was not included in the jury verdict form for Count One, but it was included in the jury
instructions on Count One. In addition, each predicate offense for Count Two contained a date and each
racketeering act for Count Three contained an “on or about” date.


                                                      26
        Case 3:04-cr-00047-NKM            Document 1620 Filed 01/31/13                    Page 27 of 34
                                             Pageid#: 7367



reasons, I find that Bryant has not demonstrated ineffective assistance of counsel and, therefore, I

will dismiss Bryant’s Claim Fifteen.9

                                              J. Claim Sixteen

          Bryant claims that counsel provided ineffective assistance in failing to object to an

alleged “variance” between the offense for which he was charged in Count Twelve and the

evidence presented at trial. I find that Bryant has not demonstrated that counsel’s performance

was deficient and, therefore, I will dismiss this claim.

          A variance occurs when the evidence at trial or the court’s instruction to the jury differ

from what was charged in the indictment but do not broaden the bases for conviction. United

States v. Randall, 171 F.3d 195, 203 (4th Cir. 1999). A variance is fatal only if it is in some way

prejudicial to the defendant. See Fed. R. Crim. P. 52(b); United States v. Brewer, 1 F.3d 1430,

1437 (4th Cir. 1993); United States v. Morrow, 925 F.2d 779, 781 (4th Cir. 1991). Otherwise,

the variance is merely harmless error. See Fed. R. Crim. P. 52(a); Brewer, 1 F.3d at 1437;

Morrow, 925 F.2d at 781-82. In the instant case, no variance occurred.

          Count Twelve of the Superseding Indictment specifically charged that on March 11,

2004, Bryant “did, as principal[] and as aider[] and abettor[], knowingly use, carry, brandish, and

discharge, a firearm during and in relation to a drug trafficking crime, to-wit: . . . the offense

alleged in Count One . . .” I note that the statute under which Bryant was charged, 18 U.S.C.

§ 924(c)(1), also punishes the use of a firearm “during and in relation to a crime of violence,” but

that this was not alleged.

          I instructed the jury on Count Twelve as follows:




    9
      Moreover, I note that Bryant was found not guilty on Counts Five and Six, the Superseding Indictment did not
indict Bryant as to Count Four, and Counts Thirteen and Fourteen were dismissed upon motion of the Government.

                                                       27
    Case 3:04-cr-00047-NKM          Document 1620 Filed 01/31/13             Page 28 of 34
                                       Pageid#: 7368



              Title 18, United States Code, Section 924(c) makes it a crime to
              knowingly use or carry a firearm during and in relation to a federal
              drug trafficking crime.

              Count Twelve of the Indictment charges that on or about March
              11, 2004, in the Western District of Virginia, Defendant Louis
              Antonio Bryant as principal or as an aider and abettor, did
              knowingly use, carry, brandish, and discharge a firearm during and
              in relation to the commission of the drug trafficking crime alleged
              in Count One of the Indictment, in violation of Title 18, United
              States Code, Sections 2 and 924(c)(1).

              To sustain its burden of proof with respect to Count Twelve, the
              Government must prove the following two elements beyond a
              reasonable doubt: (1) The Defendant knowingly used or carried a
              firearm; and (2) The use or carrying was during and in relation to
              the drug trafficking crime charged in Count One.

              If you find that these elements have been proved beyond a
              reasonable doubt, then you should find the Defendant guilty of
              Count Twelve.

              If, on the other hand, you find that either of these elements has not
              been proved beyond a reasonable doubt, then you should find the
              Defendant not guilty of Count Twelve.

Bryant mistakenly believes that Count Twelve was predicated on a “kidnapping” offense, which

the government alleged also occurred on March 11, 2004, and which was offered as an act in

furtherance of racketeering, as required in Count Three of the Superseding Indictment. Bryant

seems to be arguing that because the jury found that the kidnapping was “not proven” that the

jury must have based its verdict on narcotics distribution, and therefore, a variance occurred.

The fact is, Count Twelve was based upon the drug conspiracy as alleged in Count One, the jury

was so instructed, and no variance occurred. The mere fact that the jury found a crime of

violence was not proven on March 11, 2004, does not have any bearing on an unrelated charge

that happened to occur on the same date.




                                               28
    Case 3:04-cr-00047-NKM           Document 1620 Filed 01/31/13             Page 29 of 34
                                        Pageid#: 7369



       Because no variance occurred, I find that Bryant has not demonstrated that counsel’s

failure to make an objection for which there was no “obvious basis,” see Clanton, 826 F.2d at

1359, was deficient performance under Strickland. Therefore, I will dismiss Bryant’s Claim

Sixteen.

                                      K. Claim Seventeen

       Bryant asserts that his attorney provided ineffective assistance when he failed to object to

the jury instructions regarding his vicarious liability for the sale of cocaine base by the co-

conspirators. See Pinkerton v. United States, 328 U.S. 640 (1946). I find that Bryant has not

demonstrated that counsel’s performance was deficient or that he was prejudiced by counsel’s

allegedly deficient performance. Therefore, I will dismiss this claim.

       Instruction No. 26 defined vicarious liability under Pinkerton as it pertains to Count Two

as follows:

               In deciding whether the Defendant has committed three or more
               violations, if you have found that there was a conspiracy and that
               Defendant was a member, you may also consider narcotics law
               violations committed by his co-conspirators that are attributable to
               him as a member of the conspiracy—even if he did not commit the
               violation personally or was not even present at the time of the
               violation. This is true because a member of a conspiracy who
               commits another crime during the conspiracy’s existence and in
               order to advance the goals of the conspiracy may be found by you
               to be acting as the agent of the other members of the conspiracy.
               Under such circumstances, a Defendant who is then a member of
               the conspiracy may be held responsible for the illegal actions of
               such other member of the conspiracy.

Instruction No. 27 pertaining to Count Two, permitted the jury to “count for purposes of [the

second additional element of Count Two] the amounts of cocaine base sold by the Defendant and

the amounts of cocaine base he could reasonably foresee would be sold by all of his co-

conspirators during the course of the conspiracy charged in Count One.” This instruction stated



                                               29
    Case 3:04-cr-00047-NKM            Document 1620 Filed 01/31/13             Page 30 of 34
                                         Pageid#: 7370



the law under Pinkerton and required that Bryant reasonably foresee the amount of controlled

substances the co-conspirators sold which implies that it is in furtherance of the conspiracy.

Moreover, I properly instructed the jury on Pinkerton liability in the instructions pertaining to

Count One (see Instructions Nos. 14, 14, 18, 19, and 20), and Instruction No. 27 is predicated on

the jury finding Bryant guilty of Count One. Counsel was not ineffective in failing to object to

the jury instructions where he reasonably believed they were in accordance with the law. See

Clanton, 826 F.2d at 1359. Accordingly, I will dismiss Bryant’s Claim Seventeen.

                                         L. Claim Twenty

       Bryant claims that counsel provided ineffective assistance in failing to seek and obtain a

“favorable” plea bargain after Bryant’s mistrial. Bryant admits that he declined the proposed

plea offer and requested a plea deal that did not require him to cooperate. Bryant asserts that his

attorney informed him such a plea offer was rejected by the government, but he claims that

counsel did not tell him that counsel tried to negotiate a favorable plea bargain or a different plea

deal that did not require Bryant to cooperate with the government. I find that Bryant has failed

to demonstrate that counsel’s performance was deficient or that he was prejudiced by counsel’s

allegedly deficient performance. Therefore, I will dismiss this claim.

       Bryant concedes that his counsel informed him of the proposed plea offer, which Bryant

rejected. Counsel then attempted to obtain the plea deal that Bryant wanted (no cooperation and

pleading guilty to only firearm and marijuana charges) the week before trial, which the

government predictably rejected. Bryant claims that his attorney was ineffective, however,

because he “never informed” Bryant that he had attempted to obtain a “fair and equitable” plea

deal or “advise[d] Bryant[] there was/is [an]other option in which [Bryant] could have ple[]d,

without having to cooperate.”



                                                 30
    Case 3:04-cr-00047-NKM            Document 1620 Filed 01/31/13             Page 31 of 34
                                         Pageid#: 7371



       In the first instance, criminal defendants have no constitutionally protected right to a plea

bargain. Field v. Maryland, 956 F.2d 1290, 1297 n.19 (4th Cir. 1995). An attorney is not

considered ineffective in plea negotiations where the defendant will not agree to a key term of

any potential deal – that the defendant provide a measure of cooperation to the government.

Thus, the alleged failure to obtain a “favorable deal” does not rise to the level of a constitutional

deprivation. Furthermore, given that the government refused to accept a plea deal without

Bryant’s cooperation and that Bryant refused to accept a plea deal that required his cooperation,

counsel’s failure to negotiate a plea deal in this case cannot be considered outside the range of

reasonable assistance. If counsel failed to inform Bryant of his attempts to obtain a “fair and

equitable” (presumably meaning also non-cooperating) deal, it was likely because these attempts

were futile; if he failed to inform Bryant of non-cooperating plea deal options, it was because

there were no such options. Bryant’s counsel informed Bryant of the government’s plea deal,

presented a counter proposal to the government (Bryant agreed to plead without providing any

cooperation) which the government rejected, and informed Bryant of the government’s

requirement of cooperation. This was all that could reasonably be required of Bryant’s attorney

under the circumstances.

       Given the evidence against Bryant and his refusal to cooperate with the government,

Bryant simply cannot show that counsel’s failure to negotiate a “favorable” plea deal prejudiced

the outcome of his trial. The Supreme Court has held that the prejudice prong of Strickland in

the context of the plea process “focuses on whether counsel’s constitutionally ineffective

performance affected the outcome of the plea process.” Hill v. Lockhart, 474 U.S. 52, 58 (1985).

Thus, under the prejudice prong, Bryant must show that but for his counsel’s purported




                                                 31
     Case 3:04-cr-00047-NKM           Document 1620 Filed 01/31/13              Page 32 of 34
                                         Pageid#: 7372



ineffectiveness, Bryant would have likely received a lower sentence. The fact of the matter is

that the government and defendant could not agree on a central element of any plea agreement.

       While it is true that the lack of a plea deal allowed Bryant’s second trial and subsequent

conviction to move forward, counsel’s inability to secure him a “favorable” plea deal is solely

attributable to Bryant and can hardly be attributable to ineffective assistance of counsel. Bryant

has not argued that he would have been willing to submit an “open” guilty plea to all of the

charges against him. See United States v. Booth, 432 F.3d 542, 546-49 (3d Cir. 2005) (finding

prejudice where counsel did not inform defendant of option to submit “open” guilty plea in court

without a deal with the government where such a plea would have provided for a sentence

adjustment under the guidelines due to acceptance of responsibility). Instead, Bryant argues to

the court and made it clear to counsel at the time that he wanted a “fair and equitable” deal.

Because he was not willing to cooperate and has not shown that he was willing to plead guilty

and accept responsibility for all of the charges against him, even if such an option had been

presented to him, Bryant has failed to meet the burden of the prejudice prong of Strickland.

Therefore, I will dismiss Bryant’s Claim Twenty.

                                      M. Claim Twenty-One

       Bryant asserts that counsel provided ineffective assistance in failing to object when the

jury was not instructed that they must acquit Bryant if they found multiple conspiracies existed.

I find that Bryant has not demonstrated either prong of Strickland and, therefore, will dismiss

this claim.

       Counsel was not unreasonable in failing to object to jury Instruction No. 16.1 because

there was no error in the instruction. Instruction No. 16.1 read in pertinent part:

               The Government must show that the single conspiracy alleged in
               Count One of the Indictment existed. Proof of separate or

                                                 32
    Case 3:04-cr-00047-NKM           Document 1620 Filed 01/31/13              Page 33 of 34
                                        Pageid#: 7373



               independent conspiracies is not sufficient. Whether the evidence
               proves a single conspiracy or two or more ‘multiple conspiracies’
               is a question of fact which you must decide.

Bryant’s counsel was reasonable in believing that this instruction clearly required the jury to find

Bryant guilty only if the government proved the single alleged conspiracy, as opposed to proving

separate or independent conspiracies, existed.

       Bryant has provided no basis for his assertion that the jurors must acquit Bryant if they

found multiple conspiracies were established in the case. Although Bryant cites Walker v.

United States to support his assertion, there appears to be no such case in any circuit that

supports such a proposition. On the contrary, a jury verdict will only be reversed “if the proof of

multiple conspiracies was likely to have confused the jury into imputing guilt to [a defendant] as

a member of one conspiracy because of the illegal activity of members of the other conspiracy.”

United States v. Roberts, 262 F.3d 286, 294 (4th Cir. 2001); see United States v. Hines, 717 F.2d

1481, 1490 (4th Cir. 1983) (no reversible error where government proved two related

conspiracies which were “not likely to confuse the jury”). As such, “a multiple conspiracy

instruction is not required unless proof at trial demonstrates . . . separate conspiracies unrelated

to the overall conspiracy charged in the indictment.” United States v. Kennedy, 32 F.3d 876, 884

(4th Cir. 1994) (emphasis in original).

       In the instant case, Bryant has not argued that the proof at trial demonstrated separate

conspiracies unrelated to the drug conspiracy he was charged with or that evidence of multiple

conspiracies was likely to have confused the jury as to his guilt for the conspiracy he was

charged with. Thus, Bryant has not shown that his counsel acted unreasonably in failing to

object to the jury instructions on Count One as they were given. For these reasons, I will dismiss

Bryant’s Claim Twenty-One.



                                                 33
    Case 3:04-cr-00047-NKM          Document 1620 Filed 01/31/13            Page 34 of 34
                                       Pageid#: 7374



                                    N. Claim Twenty-Two

       Bryant alleges that counsel’s cumulative errors prejudiced his criminal proceeding. The

United States Court of Appeals for the Fourth Circuit has rejected the argument that counsel’s

actions or omissions that do not individually constitute deficient representation under the

Strickland standard can somehow be added together to create a constitutional violation. Fisher v.

Angelone, 163 F.3d 835, 852-53 (4th Cir. 1998). As I have already determined that none of

Bryant’s individual allegations of ineffective assistance of counsel rose to the level of

constitutional violation under Strickland, I further find that Bryant’s cumulative error claim is

without merit and, therefore, I will dismiss Bryant’s Claim Twenty-Two.

                                              IV.

       For the reasons stated, I will grant the United States’ motion to dismiss Bryant’s § 2255

motion.

       ENTER: This 31st day of January, 2013.




                                               34
